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                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

JUAN DIEGO AVILA-ZAVALA,                   )
                                           )
      Plaintiff,                           )
                                           )   Civil Action Number
v.                                         )   2:17-cv-02168-AKK
                                           )
DONALD WAYNE SEXTON, et al.,               )
                                           )
      Defendants.
                                           )

                   MEMORANDUM OPINION AND ORDER

      Juan Diego Avila-Zavala brings this employment action against his former

employers and several individuals, asserting claims under Title VII of the Civil

Rights Act of 1964, 42 U.S.C. §§ 2000e et seq. (“Title VII”), Section 1981 of the

Civil Rights Act of 1866 as amended, 42 U.S.C. § 1981 (“Section 1981”), and

Alabama state law. Doc. 38. This action is currently before the court on Warrior

Investment Co., Inc. (“Warrior”); Prospect Mining & Development Co., LLC

(“Prospect”); Cordova Resources Management, Inc. (“Cordova”); and Ronald

Bryant’s motion to dismiss. Doc. 44. 1 The motion is fully briefed and ripe for

review, docs. 44 and 45, and is due to be granted in part.




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        The court will refer to Warrior, Prospect, and Cordova as the “Prospect Mining
Defendants.”
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I.    STANDARD OF REVIEW

      Under Federal Rule of Civil Procedure 8(a)(2), a pleading must contain “a

short and plain statement of the claim showing that the pleader is entitled to relief.”

“[T]he pleading standard Rule 8 announces does not require ‘detailed factual

allegations,’ but it demands more than an unadorned, the-defendant-unlawfully-

harmed-me accusation.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Bell

Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)). Mere “labels and conclusions”

or “a formulaic recitation of the elements of a cause of action” are insufficient.

Iqbal, 556 U.S. at 678 (citations and internal quotation marks omitted).

      Federal Rule of Civil Procedure 12(b)(6) permits dismissal when a

complaint fails to state a claim upon which relief can be granted. “To survive a

motion to dismiss, a complaint must . . . state a claim to relief that is plausible on

its face.” Iqbal, 556 U.S. at 678 (citations omitted) (internal quotation marks

omitted).   A complaint states a facially plausible claim for relief “when the

plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Id. (citation

omitted). When considering a motion to dismiss under Rule 12(b)(6), the court

accepts “the allegations in the complaint as true and construe[s] them in the light

most favorable to the plaintiff.” Hunt v. Aimco Props., L.P. 814 F.3d 1213, 1221

(11th Cir. 2016).


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II.   FACTUAL AND PROCEDURAL BACKGROUND

      Zavala worked in the Maxine-Pratt Mine, which was jointly operated by

Alaco, LLC (“Alaco”) and the Prospect Mining Defendants. Doc. 38 at 6-8.

While working at the mine, Zavala’s supervisor, Donald Wayne Sexton, sexually

harassed and assaulted him. Id. at 2, 9-10. On two occasions while Zavala was on

a break, Sexton grabbed Zavala by the hips and made forceful pelvic thrusting

motions against Zavala’s body while restricting his movement. Id. at 9-10. Zavala

reported the harassment and assaults, but the Prospect Mining Defendants and

Alaco took no actions against Sexton. Id. at 2, 8-10. Instead, they discharged

Zavala on November 2, 2016. Id. at 9, 11.

      Zavala filed charges of discrimination against the Maxine Pratt Mine and

Alaco on November 14, 2016 and December 28, 2016, asserting that Sexton

sexually harassed him in June 2016 and that discriminatory conduct occurred

between June 13, 2016 and November 2, 2016. Docs. 22-1; 22-2. The Equal

Employment Opportunity Commission (“EEOC”) issued a right to sue letter on

January 11, 2017. Doc. 8 at 7. Zavala then filed this action eleven months later,

asserting claims against Sexton, Alaco, David E. Parton, David Parton, Jr., Curtis

Laws, Warrior, and Bryant for violations of Title VII and Alabama state law. Doc.

1. Because Title VII does not provide relief against individuals, see Busby v. City

of Orlando, 931 F.2d 764, 772 (11th Cir. 1991), the court dismissed Zavala’s Title


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VII claims against the individual defendants with prejudice.        Docs. 14; 35.

Thereafter, the court granted Zavala’s motion to amend to add claims against

Prospect and Cordova. Docs. 32 and 37.

III.   ANALYSIS

       In his Amended Complaint, Zavala asserts claims against the Prospect

Mining Defendants for sex discrimination and sexual harassment under Title VII,

race discrimination and retaliation under Section 1981, and for the torts of assault

and battery, invasion of privacy, outrage, negligent hiring and retention, breach of

implied contract, negligence and wantonness, and wrongful discharge. Doc. 38 at

11-22.      Zavala also asserts negligence and wantonness claims against Bryant

individually. Id. The Prospect Mining Defendants and Bryant have moved to

dismiss all claims against them, arguing that Zavala failed to plead viable claims

against them.

       A.      Claims Against Bryant

       The Prospect Mining Defendants and Bryant argue in part that Zavala failed

to plead sufficient facts to support his negligence and wantonness claims against

Bryant.     See doc. 44 at 6-9.   To state a cognizable claim for negligence or

wantonness, a plaintiff must allege facts showing that the defendant breached a

duty he owed to the plaintiff. See e.g., Smith v. AmSouth Bank, Inc., 892 So. 2d

905, 909 (Ala. 2004). Zavala’s sole factual allegations against Bryant, the owner


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or President of Warrior, is that Bryant “was aware or should have been aware of

the sexual harassment conduct by Sexton but did nothing about it.” Doc. 38 at 5,

7, 19. See also doc. 8 at 2. However, Zavala cited no authority recognizing a

common law duty for an individual to address sexual harassment in the workplace,

see doc. 45, and the court is aware of no such authority. Although the pleadings

are insufficient, because the parties have completed discovery, the court will

convert Bryant’s motion to a motion for summary judgment, and will give Zavala

until January 23, 2019 to present any evidence he believes supports his claims

against Bryant. Bryant’s response, if any, is due on January 31, 2019.

      B.     Claims against the Prospect Mining Defendants

             1.    Title VII Claims

      The Prospect Mining Defendants argue correctly that Zavala’s Title VII

claims against them are untimely. Doc. 44 at 2-6. Title VII requires an employee

to exhaust his administrative remedies by filing a timely charge of discrimination

with the EEOC prior to filing a lawsuit. See 42 U.S.C. § 2000e-5. For a charge to

be timely in Alabama, a non-deferral state, an employee must file it within 180

days of the alleged discriminatory conduct. Id. at § 2000e-5(3)(1); Stewart v.

Booker T. Washington Ins., 232 F.3d 844, 846 (11th Cir. 2000). Then, if the

EEOC closes its file on the charge and issues a right-to-sue letter, “the employee

must file a complaint within 90 days of the receipt of the right-to-sue letter.” Bost


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v. Fed. Express Corp., 372 F.3d 1233, 1238 (11th Cir. 2004). See also 42 U.S.C.

§ 2000e-5(f)(1).

       In this case, Zavala filed a charge of discrimination against the Maxine Pratt

Mine on November 14, 2016, doc. 22-1, and the EEOC issued a right-to-sue letter

on January 11, 2017, doc. 8 at 7.2 Zavala did not file this action until nearly a year

later. See doc. 1. Thus, as the court previously found, see doc. 14, Zavala failed to

sue, as he must, within 90 days of receiving his right-to-sue letter. See Bost, 372

F.3d at 1238.3 As a result, even assuming the EEOC charge against the Maxine

Pratt Mine could support Title VII claims against the Prospect Mining Defendants,

any Title VII claims based upon that charge are due to be dismissed as untimely.




       2
          The EEOC sent a copy of the letter to Warrior, and Prospect received the letter on
January 17, 2017. Doc. 8 at 7. The court may consider Zavala’s charges of discrimination and
the right-to-sue letters, in ruling on the motion to dismiss. See Tillery v. United States Dept. of
Homeland Security, 402 Fed. Appx. 421, 425 (11th Cir. 2010) (“[I]n ruling on [the] Rule 12(b)
motion to dismiss based solely on exhaustion of administrative remedies . . . , the district court
did not err in considering evidence outside the pleadings or in making fact findings as to
exhaustion.”).
       3
         Zavala alleges that he received the right-to-sue letter on November 10, 2017. Doc. 38 at
1. However, he does not dispute that the authenticity of the right-to-sue letter attached to
Bryant’s motion to dismiss, or that the EEOC issued the letter on January 11, 2017. See doc. 8 at
7. Moreover, based on the three-day “mailbox rule,” the court may reasonably presume that
Zavala received the letter three days from when it was issued. See Baldwin County Welcome
Ctr. v. Brown, 466 U.S. 147, 148 n.1 (1984) (presuming that a right-to-sue letter was received
three days after it was issued). Accordingly, because Zavala’s allegation that he received the
letter on November 10, 2017 is contradicted by the letter itself, the court need not accept the
allegation as true. See Associated Builders, Inc. v. Alabama Power Co., 505 F.2d 97, 100 (5th
Cir. 1974) (“Conclusory allegations and unwarranted deductions of fact are not admitted as true,
[] especially when such conclusions are contradicted by facts disclosed by a document appended
to the complaint.”).
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      Zavala attempted to remedy his failure to timely file this lawsuit by filing

new charges of discrimination against the Prospect Mining Defendants on April

17, 2018. Doc. 44 at 14, 17, 20. Each of those charges is almost identical to the

charge Zavala filed against the Maxine Pratt Mine in 2016 and are based on

discriminatory conduct that occurred between June 1 and November 2, 2016. See

id. Because Zavala filed his new EEOC charges more than 180 days after the

alleged discriminatory acts, the EEOC dismissed the charges as untimely the same

day Zavala filed them. See id. at 15, 18, 21; see also 42 U.S.C. § 2000e-5(e)(1).

Consequently, Zavala’s Title VII claims based on those charges are due to be

dismissed for failure to exhaust his administrative remedies. See Wilkerson v.

Grinnell Corp., 270 F.3d 1314, 1317 (11th Cir. 2001); Crawford v. Babbitt, 186

F.3d 1322, 1326 (11th Cir. 1999).

      Because Zavala failed to timely file suit after receiving his first right-to-sue

letter and because his subsequent EEOC charges were untimely, Zavala’s Title VII

claims against the Prospect Mining Defendants are due to be dismissed with

prejudice.

             2.    Zavala’s Remaining Claims

      The Prospect Mining Defendants argue next that all of Zavala’s remaining

claims against them should be dismissed because his Amended Complaint is

“vague, conclusory, and fails to state a claim upon which relief could be granted.”


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Doc. 44 at 6-8. Alternatively, they ask the court to order Zavala to re-plead his

claims pursuant to Rule 12(e).     Id. at 9.   In particular, the Prospect Mining

Defendants argue that because Zavala refer to them and Alaco collectively as the

“Corporate Defendants,” it is impossible for them do determine the basis of his

claims against them. Doc. 44 at 8. However, Rule 8 does not prohibit a plaintiff

from referring to defendants collectively. See Fed. R. Civ. P. 8. Accordingly, a

complaint that makes allegations against defendants collectively may survive a

Rule 12(b)(6) motion if it gives each defendant “fair notice of what the plaintiff’s

claim is and the ground upon which it rests.” See Randall v. Scott, 610 F.3d 701,

705 (11th Cir. 2010) (quotation omitted).

      Turning to the specifics here, Zavala alleges that the Prospect Mining

Defendants and Alaco are joint employers and that they operated and managed the

Maxine-Pratt Mine “under a business venture to exploit and/or administer the

business of the Mine jointly.” Doc. 38 at 3, 6-7. According to Zavala, the

Prospect Mining Defendants and Alaco also employed and had authority over

Sexton, who harassed and sexually assaulted Zavala. Id. at 6-7. Zavala, who is

Hispanic foreign national, further alleges that Sexton targeted Hispanic males for

sexual harassment and abuse. Id. at 3, 8. Zavala reported the harassment and

assault to the superintendent of the mine, who was also employed by the Prospect

Mining Defendants and Alaco, but the Prospect Mining Defendants took no actions


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against Sexton. Id. at 8-10. Rather, Sexton increased Zavala’s work schedule to

more than 10-11 hours per day and threatened to terminate him.             Id. at 11.

Subsequently, the Prospect Mining Defendants and Alaco discharged Zavala. Id.

at 9, 11. Finally, Zavala alleges that the Prospect Mining Defendants and Alaco

ignored his complaints because he is Hispanic and that they promptly investigated

“[c]laims of any nature made by non-Hispanic” employees. Id. at 14.

      These allegations are sufficient to place the Prospect Mining Defendants on

notice about the alleged misconduct that is the basis for this lawsuit. Moreover,

the allegations belie the Prospect Mining Defendants contention that Zavala made

no specific allegations that they knew of any protected activity by him or that they

took any specific adverse action against him. As a result, the Prospect Mining

Defendants have not shown that Zavala’s claims are due to be dismissed simply

because he referred to them and Alaco collectively.

      At the motion to dismiss stage, Zavala need only provide a “short and plain

statement of the claim[s] showing that the pleader is entitled to relief.” Fed. R.

Civ. P. 8(a)(2). Construing Zavala’s allegations as true, and with the charge that

the court must construe pleadings “so as to do justice,” Fed. R. Civ. P. 8(d)-(e), the

court finds that Zavala has pleaded sufficient facts to allow his Section 1981 and

state law claims against the Prospect Mining Defendants to survive a motion to

dismiss.


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IV.   CONCLUSION

      For all these reasons, Bryant and the Prospect Mining Defendants’ motion to

dismiss, doc. 44, is GRANTED as to Zavala’s Title VII claims against the

Prospect Mining Defendants, and these claims are DISMISSED WITH

PREJUDICE. In all other respects, the motion to dismiss is DENIED.

      DONE the 11th day of January, 2019.


                                     _________________________________
                                              ABDUL K. KALLON
                                       UNITED STATES DISTRICT JUDGE




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